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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                             INITIAL APPEARANCE - REMOVAL
                                                    )        COURT MINUTES - CRIMINAL
United States of America,                           )           BEFORE: DAVID T. SCHULTZ
                                                    )            U.S. MAGISTRATE JUDGE
                          Plaintiff,                )
v.                                                  )     Case No:             22-mj-480 DTS
                                                    )     Date:                June 2, 2022
Julien Jerome Rodgers,                              )     Video Conference
                                                    )     Time Commenced:      2:25 p.m.
                          Defendant.                )     Time Concluded:      2:31 p.m.
                                                    )     Time in Court:       6 minutes
                                                    )
                                                    )
APPEARANCES:

       Plaintiff: Jordan Sing, Assistant U.S. Attorney
       Defendant: Manny Atwal,
                       X FPD          X To be appointed

       X Advised of Rights

on   X Indictment

X Date charges or violation filed: 4/21/2022
X Current Offense: Conspiracy to Possess with intent to distribute a controlled substance
X Charges from other District: District of North Dakota
X Title and Code of underlying offense from other District: 21:846
X Case no: 3:22-cr-69

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is Monday, June 6, 2022 at 3:00 p.m. via video conference before U.S. Magistrate Judge
John F. Docherty for:
X Detention hrg       X Removal hrg


Additional Information:
X Defendant consents to this hearing via video conference.
X Oral Rule5(f) Brady notice read on the record.
                                                                                                    s/ SAE
                                                                             Signature of Courtroom Deputy
